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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                    WACO DIVISION

    DISPLAY TECHNOLOGIES LLC,          §
                                       §
                                       §
       Plaintiff,                      §
                                       §               Case No. 6:21-cv-01111-ADA
               v.                      §
                                       §
 VOLVO CAR USA, LLC,                   §               JURY TRIAL DEMANDED
                                       §
       Defendant.                      §
 _____________________________________ §

                          DEFENDANT VOLVO CAR USA LLC’S ANSWER
        Defendant Volvo Car USA LLC (“Volvo”) files its Answer to Plaintiff Display

Technologies LLC’s Complaint for Patent Infringement (Dkt. 1).

                                PARTIES AND JURISDICTION1

        1.       This is an action for patent infringement under Title 35 of the United States Code.

Plaintiff is seeking injunctive relief as well as damages.

        ANSWER:         Volvo admits that the Complaint purports to state an action arising under

the patent laws of the United States. Volvo denies the legal sufficiency of Plaintiff’s claims against

Volvo, denies that Plaintiff has any viable claim for patent infringement against Volvo, and

otherwise denies the allegations of Paragraph 1.

        2.       Jurisdiction is proper in this Court pursuant to 28 U.S.C. §§ 1331 (Federal

Question) and 1338(a) (Patents) because this is a civil action for patent infringement arising under

the United States patent statutes.




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 The headings in the Complaint for Patent Infringement are reproduced herein for the convenience
of the Court. To the extent such headings include or imply allegations, they are denied.


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        ANSWER:         For purposes of this action, Volvo does not contest that subject matter

jurisdiction is proper in this District. Volvo denies the legal sufficiency of Plaintiff’s claims against

Volvo, denies that Plaintiff has any viable claim for patent infringement against Volvo, and

otherwise denies the allegations of Paragraph 2.

        3.       Plaintiff is a Texas limited liability company with a place of business at 1 East

Broward Boulevard, Suite 700, Ft. Lauderdale, FL 33301.

        ANSWER:         Volvo lacks knowledge or information sufficient to form a belief about the

truth of these allegations and therefore denies them.

        4.       On information and belief, Defendant is a Delaware corporation with a principal

place of business at 1800 Volvo Place, Mahwah, NJ, 07430. On information and belief, Defendant

may be served through its registered agent, Corporation Trust Company, located at Corporation

Trust Center, 1209 Orange St., Wilmington, Delaware 19801.

        ANSWER:         Volvo admits it is a company organized under the laws of the State of

Delaware, and admits that its registered agent is The Corporation Trust Company, located at

Corporation Trust Center, 1209 Orange St, Wilmington, DE 19801. For purposes of this action

only, Volvo does not contest service of process of the Complaint.

        5.       This Court has personal jurisdiction over Defendant because Defendant has

committed, and continues to commit, acts of infringement in this District, has conducted business

in this District, and/or has engaged in continuous and systematic activities in this District.

        ANSWER:         For purposes of this action only, Volvo does not contest personal

jurisdiction but denies it has committed, contributed to, or induced, acts of infringement in this

District and otherwise denies the remaining allegations of Paragraph 5.




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       6.       Upon information and belief, Defendant’s instrumentalities that are alleged herein

to infringe were and continue to be used, imported, offered for sale, and/or sold in this District.

       ANSWER:         Volvo lacks knowledge or information sufficient to form a belief about the

truth of the allegations of Paragraph 6 and therefore denies them.

                                              VENUE
       7.       On information and belief, venue is proper in this District under 28 U.S.C.

§ 1400(b) because acts of infringement are occurring in this District and Defendant has a regular

and established place of business in this District at, for example, 5700 S.W.H.K. Dodgen Loop
Temple, TX 76502.

       ANSWER:         For purposes of this action only, Volvo admits that venue is proper in this

District, but denies it has committed, or continues to commit, acts of infringement in this District

and otherwise denies the remaining allegations of Paragraph 7.


                                  COUNT I
              (INFRINGEMENT OF UNITED STATES PATENT NO. 9,300,723)
       8.       Plaintiff incorporates paragraphs 1 through 7 herein by reference.

       ANSWER:         Volvo repeats and realleges its responses to Paragraphs 1 through 7,

inclusive, of the Complaint.

       9.       This cause of action arises under the patent laws of the United States and, in
particular, under 35 U.S.C. §§ 271, et seq.

       ANSWER:         Volvo admits that the Complaint purports to state an action arising under

the patent laws of the United States. Volvo denies the legal sufficiency of Plaintiff’s claims against

Volvo, denies that Plaintiff has any viable claim for patent infringement against Volvo, and

otherwise denies the allegations of Paragraph 9.

       10.      Plaintiff is the owner by assignment of the ‘723 Patent with sole rights to enforce

the ‘723 Patent and sue infringers.




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       ANSWER:         Volvo admits that USPTO PAIR lists an assignment of the ’723 patent to

the Plaintiff. Volvo lacks knowledge or information sufficient to form a belief as to the truth of

the remaining allegations of Paragraph 10 and, therefore, denies the same.

       11.     A copy of the ‘723 Patent, titled “Enabling social interactive wireless

communications,” is attached hereto as Exhibit A.

       ANSWER:         Volvo admits that, on its face, the ’723 Patent is titled “Enabling social

interactive wireless communications,” and is attached as Exhibit A of the Complaint.

       12.     The ‘723 Patent is valid, enforceable, and was duly issued in full compliance with

Title 35 of the United States Code.

       ANSWER:         Denied as to validity and enforceability. Defendant lacks knowledge or

information sufficient to form a belief as to the truth of the remaining allegations of Paragraph

12 and, therefore, denies the same.

       13.     Defendant has infringed and continues to infringe one or more claims, including at

least Claim 12 of the ‘723 Patent by making, using, and/or selling media systems covered by one

or more claims of the ‘723 Patent. For example, Defendant makes, uses, and/or sells the Volvo car

infotainment system, and any similar products (“Product”). Defendant has infringed and continues

to infringe the ‘723 Patent in violation of 35 U.S.C. § 271.

       ANSWER:         Denied, except that is admitted that Volvo sells some cars with

entertainment systems.

       14.     Regarding Claim 12, the Product is configured to receive a media file (e.g., music

file or songs video) from a wireless mobile device (e.g., mobile phone) over a communication

network (e.g. Bluetooth network). The wireless mobile device (e.g., mobile phone) sends data

(e.g., music file) to the media system. Certain aspects of this element are illustrated in the

screenshots below and/or those provided in connection with other allegations herein.

       ANSWER:         Volvo lacks knowledge or information sufficient to form a belief as to the

truth of the allegations imputing screenshots to Volvo and therefore they are denied. Volvo denies



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the remaining allegations of Paragraph 14; specifically Plaintiff’s characterization and definitions

of the Product in relation to Claim 12.

       15.     The Product includes a wireless receiver (e.g., Bluetooth receiver). Certain aspects

of this element are illustrated in the screenshots below and/or in those provided in connection with

other allegations herein.

       ANSWER:         Volvo admits that some of its cars include an entertainment system which

includes Bluetooth. Volvo lacks knowledge or information sufficient to form a belief as to the truth

of the allegations imputing screenshots to Volvo and therefore they are denied. Volvo continues

to deny Plaintiff’s characterizations and definitions of “the Product”, and denies the remaining

allegations of Paragraph 15.

       16.     The Product includes a security measure. For example, the Product must be paired

and connected by inputting a password and/or Bluetooth code (i.e., a security measure) to a

wireless mobile device (e.g., mobile phone) before receiving a media file. Certain aspects of this

element are illustrated in the screenshots below and/or those provided in connection with other

allegations herein.

       ANSWER:         Volvo admits that some of its cars include an entertainment system which

includes a Bluetooth system which must be paired with a phone before media can be played on the

system via the phone. Volvo lacks knowledge or information sufficient to form a belief as to the

truth of the allegations imputing screenshots to Volvo and therefore they are denied. Volvo

continues to deny Plaintiff’s characterizations and definitions of “the Product”, and denies

Plaintiff’s characterization of Volvo’s system as containing a security measure. Volvo denies the

remaining allegations of Paragraph 16.

       17.     The Product is disposed in an accessible relation to at least one interactive computer

network (e.g., Bluetooth network) that has a wireless range structured to permit authorized access

(e.g., via pairing code) to said at least one interactive computer network. Certain aspects of this




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element are illustrated in the screenshots below and/or those provided in connection with other

allegations herein.

          ANSWER:       Volvo admits that some of its cars include an entertainment system which

includes a Bluetooth system which typically is within range of a phone in the car. Volvo lacks

knowledge or information sufficient to form a belief as to the truth of the allegations imputing

screenshots to Volvo and therefore they are denied. Volvo continues to deny Plaintiff’s

characterizations and definitions of “the Product”, and denies Plaintiff’s characterization of

Volvo’s system as containing at least one interactive computer network (e.g., Bluetooth network)

that has a wireless range structured to permit authorized access (e.g., via pairing code) to said at

least one interactive computer network. Volvo denies the remaining allegations of Paragraph 17.

          18.   When the wireless mobile device is within the wireless range, the wireless mobile

device is detectable by the media system (e.g., the media system automatically detects a

smartphone when the mobile device is within Bluetooth range). Certain aspects of this element are

illustrated in the screenshots below and/or those provided in connection with other allegations

herein.

          ANSWER:       Volvo admits that some of its cars include an entertainment system which

includes a Bluetooth system which can detect a Bluetooth phone inside the car. Volvo lacks

knowledge or information sufficient to form a belief as to the truth of the allegations imputing

screenshots to Volvo and therefore they are denied. Volvo denies the remaining allegations of

Paragraph 18.

          19.   At least one digital media file (e.g., music file) is initially disposed on the wireless

mobile device (e.g., the mobile phone includes one or more music files). Certain aspects of this

element are illustrated in the screenshots below and/or those provided in connection with other

allegations herein.

          ANSWER:       Volvo admits that some of its cars include an entertainment system which

includes a Bluetooth system which plays music via a phone which has access to music. Volvo


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denies Plaintiff’s attempts to characterize and define Volvo’s system as being the same as that

described in claim 12. Volvo lacks knowledge or information sufficient to form a belief as to the

truth of the allegations imputing screenshots to Volvo and therefore they are denied. Volvo denies

the remaining allegations of Paragraph 19.

       20.     The media system is structured to detect the wireless mobile device disposed within

the wireless range (e.g., media system automatically detects the mobile phone when it is within

Bluetooth range). Certain aspects of this element are illustrated in the screenshots below and/or

those provided in connection with other allegations herein.

       ANSWER:         Volvo admits that some of its cars include an entertainment system which

includes a Bluetooth system that can detect a Bluetooth phone within its range. Volvo denies

Plaintiff’s attempts to characterize and define Volvo’s system as being the same as that described

in claim 12. Volvo lacks knowledge or information sufficient to form a belief as to the truth of the

allegations imputing screenshots to Volvo and therefore they are denied. Volvo denies the

remaining allegations of Paragraph 20.

       21.     A communication link (e.g., Bluetooth) is structured to dispose the media system

and the wireless mobile device (e.g. mobile phone) in a communicative relation with one another

via the at least one interactive computer network. Certain aspects of this element are illustrated in

the screenshots below and/or those provided in connection with other allegations herein.

       ANSWER:         Volvo admits that some of its cars include an entertainment system which

includes a Bluetooth system that can receive music from a linked Bluetooth phone within its range.

Volvo denies Plaintiff’s attempts to characterize and define Volvo’s system as being the same as

that described in claim 12. Volvo lacks knowledge or information sufficient to form a belief as to

the truth of the allegations imputing screenshots to Volvo and therefore they are denied. Volvo

denies the remaining allegations of Paragraph 21.

       22.     The communication link is initiated by the media system. The devices will

automatically connect when the units are in range. Certain aspects of this element are illustrated

in the screenshots below and/or those provided in connection with other allegations herein.

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       ANSWER:         Volvo admits that some of its cars include an entertainment system which

includes a Bluetooth system that can receive music from a linked Bluetooth phone within its range.

Volvo denies Plaintiff’s attempts to characterize and define Volvo’s system as being the same as

that described in claim 12. Volvo lacks knowledge or information sufficient to form a belief as to

the truth of the allegations imputing screenshots to Volvo and therefore they are denied. Volvo

denies the remaining allegations of Paragraph 22.

       23.     The wireless mobile device and the media system are structured to transmit the at

least one digital media file there between via the communication link (e.g., media system allows

for the transmission of files between itself and the wireless mobile device; e.g., the mobile device

transmits the music file to the media system). Certain aspects of this element are illustrated in the

screenshots below and/or those provided in connection with other allegations herein.

       ANSWER:         Volvo admits that some of its cars include an entertainment system which

includes a Bluetooth system that can play music via a Bluetooth phone. Volvo denies Plaintiff’s

attempts to characterize and define Volvo’s system as being the same as that described in claim

12. Volvo lacks knowledge or information sufficient to form a belief as to the truth of the

allegations imputing screenshots to Volvo and therefore they are denied. Volvo denies the

remaining allegations of Paragraph 23.

       24.     The communication link is structured to bypass the security measure of the media

system for a limited permissible use of the communication link by the wireless mobile device for

only transferring the at least one digital media file to, and displaying the at least one digital media

file on, the media system (e.g., the media system bypasses the security measure of the Bluetooth

network). Certain aspects of this element are illustrated in the screenshots below and/or those

provided in connection with other allegations herein.

       ANSWER:         Volvo admits that some of its cars include an entertainment system which

includes a Bluetooth system that can allow a Bluetooth phone to link with it. Volvo denies

Plaintiff’s attempts to characterize and define Volvo’s system as being the same as that described

in claim 12. Volvo lacks knowledge or information sufficient to form a belief as to the truth of the

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allegations imputing screenshots to Volvo and therefore they are denied. Volvo denies the

remaining allegations of Paragraph 24.

          25.    Defendant’s actions complained of herein will continue unless Defendant is

enjoined by this court.

          ANSWER:         Denied.

          26.    Defendant’s actions complained of herein are causing irreparable harm and

monetary damage to Plaintiff and will continue to do so unless and until Defendant is enjoined and

restrained by this Court.

          ANSWER:         Denied.

          27.    Plaintiff is in compliance with 35 U.S.C. § 287.

          ANSWER:         Volvo lacks knowledge or information sufficient to form a belief as to the

truth of the allegations of Paragraph 27 and, therefore, denies the same.

                                    DEMAND FOR JURY TRIAL

          28.    Rothschild Broadcast Distribution Systems, under Rule 38 of the Federal Rules of

Civil Procedure, requests a trial by jury of any issues so triable by right.

          ANSWER:         Plaintiff’s jury demand requires no response. To the extent a response is

required, Volvo requests a jury trial of all issues in this action so triable.

                                       PRAYER FOR RELIEF
          The Complaint for Patent Infringement recites a Prayer for Relief for which no response

 is required. To the extent an answer is required, Volvo denies that Plaintiff is entitled to any

 remedy or relief.

                                        GENERAL DENIAL

          Volvo denies that Plaintiff is entitled to any remedy or relief. To the extent there are any

actionable allegations in the Complaint not specifically admitted or denied hereinabove, they are

denied.




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                          DEFENSES AND AFFIRMATIVE DEFENSES

          Without any admission as to the burden of proof, burden of persuasion, or the truth of any

allegation in the Complaint, Volvo relies upon the following defenses. Volvo reserves the right to

amend its Answer and add additional Defenses and Affirmative Defenses.

                                           FIRST DEFENSE
                                          (Non-Infringement)
          Volvo does not infringe and has not infringed any valid and enforceable claim of the ’723

Patent, either literally or under the doctrine of equivalents, by direct, contributory, or induced

infringement, willfully or otherwise.
                                         SECOND DEFENSE
                                           (Invalidity)
          The claims of the ’723 Patent are invalid for failure to satisfy one or more of the conditions

and requirements for patentability set forth in 35 U.S.C. §§ 101 et seq., including, but not limited

to, 35 U.S.C. §§ 101, 102, 103, 112, 116, and/or 282, or under the judicially created doctrines of

invalidity or unenforceability.
                                         THIRD DEFENSE
                                      (No Willful Infringement)
          Volvo has not and does not willfully infringe any valid and enforceable claim of the ’723

Patent.

                                         FOURTH DEFENSE
                                        (No Exceptional Case)
          Volvo’s actions in defending this case do not give rise to an exceptional case in Plaintiff’s

favor under 35 U.S.C. § 285.

                                        FIFTH DEFENSE
                    (Laches, Estoppel, Waiver, Acquiescence, and Unclean Hands)
   Plaintiff’s claims are barred by one or more of the doctrine of laches, estoppel, waiver,

acquiescence, and unclean hands from enforcing or claiming damages with respect to any claim

of the ’723 Patent.




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                                     SIXTH DEFENSE
                 (Doctrine of Equivalents and Prosecution History Estoppel)
       Plaintiff’s claims are barred under the doctrine of prosecution history estoppel from

asserting any scope of the ’723 Patent that would cover the accused products because of statements

and amendments made during prosecution of the application that led to the ’723 Patent.

                                      SEVENTH DEFENSE
                                (Relief Not In The Public Interest)

       The relief sought by Plaintiff does not and would not further public interest, and there are

strong public reasons for denying Plaintiff the relief sought.

                                      EIGTH DEFENSE
                         (Limitations on Damages per 35 U.S.C. § 287)

       Any claim for damages for patent infringement is limited by 35 U.S.C. § 287 to only those

damages occurring after Plaintiff’s notice of infringement.

                                         NINTH DEFENSE
                                        (No Injunctive Relief)

       Plaintiff is not entitled to injunctive relief because, inter alia, any injury to Plaintiff is not

immediate or irreparable, and Plaintiff has an adequate remedy at law.

                                     TENTH DEFENSE
                       (Reservation of Additional Affirmative Defenses)

       Volvo presently has insufficient knowledge or information upon which to form a belief as

to whether it may have additional, yet unstated, affirmative defenses. As such, Volvo reserves the

right to assert additional affirmative defenses in the event discovery indicates that additional

affirmative defenses are appropriate.

                                     EXCEPTIONAL CASE

       Plaintiff has, in bad faith, knowingly undertaken to enforce the ’723 Patent against Volvo

while knowing that the ’723 Patent are either unenforceable invalid or not infringed. Based upon



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the foregoing conduct of Plaintiff, this is an exceptional case under 35 U.S.C. § 285. As a result of

Plaintiff's conduct, as alleged above, Volvo is entitled to recover attorney fees.

                                 DEMAND FOR JURY TRIAL

       Volvo requests a jury trial on all issues triable by jury.


                                     PRAYER FOR RELIEF
       WHEREFORE, Volvo requests the following relief:

       a) that all claims against Volvo be dismissed with prejudice and that all relief requested by

Plaintiff be denied;

       b) an order be entered declaring U.S. Patent No. 9,300,723 is not infringed;

       c) an order be entered declaring U.S. Patent No. 9,300,723 is invalid; and

       d) that a judgment be entered that this case is exceptional under 35 U.S.C. § 285, and

accordingly that Volvo is entitled to recover reasonable attorney fees and costs upon prevailing in

this action; and that Volvo be awarded such other relief that the Court deems just and equitable,

or which the Court deems necessary and proper.


Dated: December 22, 2021                               Respectfully submitted,

                                                       PATTERSON + SHERIDAN LLP

                                                       /s/ B. Todd Patterson

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                                                     Fax: 713-623-4846

                                                     Counsel for Defendants
                                                     Volvo Car USA LLC

                                CERTIFICATE OF SERVICE

       I hereby certify that I electronically filed the foregoing document with the Clerk of the
Court by using the CM/ECF system on December 22, 2020.

                                                     /s/ B. Todd Patterson
                                                     B. Todd Patterson




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